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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

Sterling Misanin, et al.,                )
                                         )
              Plaintiffs,                )
        vs.                              )             C.A. No. 2:24-4734-RMG
                                         )
Alan Wilson, in his official capacity as )
the Attorney General of South Carolina,  )
et al.,                                  )
                                         )
              Defendants.                )             ORDER
                                         )
____________________________________)

       By Order dated November 14, 2024, the Court informed the parties that it was “actively

considering staying this case to allow the United States Supreme Court to address issues presently

pending before it relating to the rights of transgender minors to access gender affirming hormonal

and puberty blocking treatments.” (Dkt. No. 49 at 2). On June 24, 2024, the United States Supreme

Court granted certiorari in United States v. Skrmetti, Case No. 23-477, a Sixth Circuit Court of

Appeals decision which overturned district court decisions from Kentucky and Tennessee granting

preliminary injunctive relief to transgender minors denied access to certain medical treatments. 83

F.4th 460 (6th Cir. 2023). The Supreme Court conducted oral argument in Skrmetti on December

4, 2024. Plaintiffs oppose the staying of this action pending the Supreme Court’s decision in

Skrmetti and Defendants support the stay. (Dkt. Nos. 54, 55).

       It is well settled that a district court has the inherent authority to stay a case where an issue

potentially impacting the outcome of the case is presently on the docket of the United States

Supreme Court. Landis v. North America Co., 299 U.S. 248, 254 (1936); Hickey v. Baxter, 833

F.2d 1005 (4th Cir. 1987) (unpublished). This discretion is not unlimited, however, and any stay


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should be fixed with reasonable time limits to avoid a stay of indefinite duration. McKnight v.

Blanchard, 667 F.2d 477, 479 (5th Cir. 1982). Factors to consider in granting or denying a stay

when a related matter is pending before the Supreme Court include the judicial economy likely to

be saved by waiting on a decision by the Supreme Court, whether the Supreme Court’s decision

will likely provide “definitive guidance on key legal questions,” and the “hardship/prejudice to the

party opposing the stay, given its duration.” Latta v. Dep’t of Educ., 653 F.Supp.3d 435, 439 (S.D.

Ohio 2023); Int’l Refugee Assistance Project v. Trump, 323 F.Supp.3d 726, 734 (D. Md. 2018);

Benisek v. Lamone, 266 F.Supp.3d 799, 803 (D. Md. 2017).

          Plaintiffs accurately note that the issues pending before this Court are broader than the

issues before the Supreme Court in Skrmetti. But it is also true that Skrmetti raises an issue central

to many of the Plaintiffs’ claims before this Court—the level of scrutiny that is to be applied to

legislation that addresses the right to access to medical treatments for transgender minors. Further,

assuming that the duration of any stay would be tied to action taken by the Supreme Court in

Skrmetti during the present term, the stay would be no longer than six to seven months.

          Plaintiffs argue that transgender minors within South Carolina would suffer irreparable

injury by any stay, no matter what duration. Defendants contest this assertion, arguing that there

is significant disagreement within the medical profession across the United States and

internationally on the efficacy of the medical treatment sought by the Plaintiffs. The Court finds it

unnecessary to resolve this issue because under any scenario, after carefully weighing all of the

factors, prudence dictates a brief stay of this litigation to allow the Supreme Court to rule in

Skrmetti, which will likely provide the Court important guidance on critical issues pending in this

action.




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       The Court further notes that at least five courts, including two courts of appeal and three

district courts, have issued stays in pending cases involving the rights of transgender minors to

certain medical treatments while awaiting a decision in Skrmetti. Poe v. Lawlis, App. No.23-5110

(10th Cir. October 29, 2024); Poe v. Labrador, App. No. 24-142 (9th Cir. September 16, 2024);

Koe v. Noggle, C.A. No. 1:23-2904 (N.D. Ga. September 13, 2024); K.C. v. The Individual

Members of the Medical Licensing Board of Indiana, C.A. No. 1:23-595 (S.D. Ind. July 9, 2024);

Boe v. Marshall, C.A. No. 2:22-184 (M.D. Ala. July 2, 2024).

       The Court hereby stays this action until the Supreme Court enters an order on the merits in

Skrmetti or the Supreme Court’s October 2024-June 2025 term ends, whichever is sooner. If the

Supreme Court enters an order in Skrmetti addressing the merits of the appeal during its present

term, Plaintiffs and Defendants are directed to file with this Court their views regarding the impact,

if any, of the Skremetti decision on the issues present in this action. The parties shall make their

submissions within 15 days of the Supreme Court’s order.

       AND IT IS SO ORDERED.



                                                      s/ Richard Mark Gergel
                                                      Richard Mark Gergel
                                                      United States District Judge



December 19, 2024
Charleston, South Carolina




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